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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 TROY V. CAM,
                                                      Case No. 1:18-cv-00533
      Plaintiff,
                                                      Honorable Edmond E. Chang
 v.

 CALIBER HOME LOANS, INC.,                            Honorable Sidney I. Schenkier
                                                      Magistrate Judge
      Defendant.

                                 NOTICE OF SETTLEMENT

       Plaintiff, TROY V. CAM, hereby notifies the Court that Plaintiff and Defendant, CALIBER

HOME LOANS, INC., have reached settlement as to all claim(s), and are in process of completing

the settlement agreement and filing the notice of voluntary dismissal. The parties request that the

Court retain jurisdiction for any matter relating to completing the settlement agreement and/or

enforcing the settlement agreement.

Dated: February 23, 2018                                    Respectfully submitted,

                                                            /s/ Joseph Scott Davidson

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